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UN|TED STATES OF AN|ER|CA,
Plaintiff,
vs. Criminal No. 03-20431-D
SHELLY S. PERR¥ *
Defendant. *

 

ORDER ON MOT|ON
FOR CORRECT|ON OF JUDGEMENT AND COM|M|TN|ENT ORDER

 

This cause came on to be heard this date upon unopposed1 written motion of the
United States for correction of the Judgement and Commitment Order heretofore filed in
the above-referenced cause on l\/larch 30, 2005; and

lT SAT|SFACTOR|LY APPEAR|NG TO THE COURT that the said l\/lotion of the
United States should be granted for good cause shown;

|T |S THEREFORE ORDERED that the Judgement and Commltment Order
heretofore entered in the above-referenced cause be corrected in the following manner:

a. The names and loss amounts of two additional victims should be listed With
the total list of victims as foltows: Nlichael Pa|mer - loss $1,698.00 and LaShawn Wrice n

loss $1,035.00.

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b. The current Judgement and Commitment Order shows a total restitution
amount of $1 19,964.35, but the victim amounts total $119,962.35. Therefore, there is a
$2 error in the existing figure. With the loss amounts ofthe additional two victims and the

$2 correction, the new restitution amount should be $ 122,695.35.

ENTER TH|S §§ DAY OF NIAY, 2005

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lcE Bo€ié DoNAi_D _
Uni ed States District Judge

  

   

UNITED sATE DISTRICT COURT - W"'RNT DISTRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 35 in
case 2:03-CR-20431 Was distributed by faX, mail, or direct printing on
May 6, 2005 to the parties listed.

 

 

Dan Nevvsom

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Handel R. Durham
DURHAM & ASSOCIATES
100 North Main St.

Ste. 2601

1\/1emphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

